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1                                                              The Honorable Ricardo S. Martinez

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8                            UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF WASHINGTON
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10   TREVOR KEVIN BAYLIS,                                 No. 2:23-cv-01653-RSM

11                           Plaintiff,                   DECLARATION OF JONAH O.
                                                          HARRISON IN SUPPORT OF
12           v.                                           MOTION TO REFER
                                                          COPYRIGHT REGISTRATION
13   VALVE CORPORATION,                                   QUESTIONS TO THE
                                                          REGISTER OF COPYRIGHTS
14                           Defendant.                   AND FOR STAY OF
                                                          PROCEEDINGS
15

16          I, Jonah O. Harrison, declare as follows:
17          1.      I am an attorney at the law firm Arete Law Group PLLC. I represent
18   Defendant Valve Corporation (“Valve”) in this matter. I am over the age of eighteen and have
19   personal knowledge of the facts stated below. I am otherwise competent to testify and, if
20   called upon to testify on the matters herein, would do so consistently with this declaration.
21          2.      Attached hereto as Exhibit A is a true and correct copy of the certificate of
22   copyright registration dated August 11, 2023 from the United States Copyright Office.
23          3.      Attached hereto as Exhibit B is a true and correct copy of the documents
24   Trevor Baylis deposited with his application for copyright registration with the U.S.
25   Copyright office. My office received these documents in response to our request for the
26   registration deposit file from the Copyright Office. In addition to these documents, the


     DECLARATION OF JONAH O. HARRISON IN SUPPORT
     OF MOTION TO REFER COPYRIGHT REGISTRATION
     QUESTIONS TO THE REGISTER OF COPYRIGHTS AND
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1    deposit file contains a video clip of the entire Iron Sky movie. Valve can produce that upon

2    request should the Court request it, but due in part to its size, Valve has not attached it to this

3    declaration and motion.

4            4.      Attached hereto as Exhibit C is a true and correct copy of Valve’s request for

5    a certified copy of the entire registration deposit file. In response to Valve’s request for a

6    certified copy of the entire registration file, the Copyright Office did not produce a completed

7    version of the copyright application.

8            5.      Attached hereto as Exhibit D is a true and correct copy of a certified

9    translation of the Finnish court’s decision (attached thereto) regarding Baylis’ claim of

10   alleged copyright ownership of the film Iron Sky in that court labeled Bates Nos.

11   VALVE_001-003. In addition, appended to the certified translation is an unredacted copy of

12   the court’s decision showing the names of the litigants rather than letters.

13           6.      Attached hereto as Exhibit E is a true and correct copy of the Supreme Court’s

14   decision to uphold the trial court judgment in full. I inserted the language of Exhibit E into

15   Google Translate and several other online translation services, all of which confirm that the

16   language of the order is that “leave to appeal is not granted, and the judgment of the market

17   court will therefore remain permanent.”

18           7.      Attached hereto as Exhibit F is a true and correct copy of the May 23, 2008

19   copyright registration held by Iron Sky screenplay author, Johana Sinislao.

20           8.      Attached hereto as Exhibit G is a true and correct copy of the story produced

21   by a Hollywood Reporter excerpting the result of the Finnish court case.

22           9.      Attached hereto as Exhibit H is a true and correct copy of Trevor Baylis’

23   comments posted on March 1, 2019.

24           10.     Attached hereto as Exhibit I is a true and correct copy of Trevor Baylis’

25   comments complaining about the Finnish judgment at the time he received his 2023 copyright

26   registration.


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1           I declare under penalty of perjury under the laws of the State of Washington that the

2    foregoing is true and correct.

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4           Executed in Seattle, Washington on this 3rd day of April, 2024.

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                                                 /s/ Jonah O. Harrison
6                                                Jonah O. Harrison
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1                                 CERTIFICATE OF SERVICE

2           I hereby certify that on this date I caused true and correct copies of the foregoing

3    document to be served upon the following, at the addresses stated below, via the method of

4    service indicated.

5
       Trevor Kevin Baylis (pro se)                                      E-mail
6      Jankanraitti 10 A 4                                               U.S. Mail
7      33560, Tampere                                                    E-filing
       Finland
8

9

10   Dated this 3rd day of April, 2024 in Seattle, Washington.

11                                                       /s/ Kaila Greenberg
                                                         Kaila Greenberg
12                                                       Legal Assistant

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